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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA




US DOMINION, INC., et al.,

Plaintiffs/Counter-Defendants,

       v.                                    Civil Action No. 1:21-cv-00040 (CJN)

SIDNEY POWELL, et al.,

Defendants/Counter-Plaintiffs.



US DOMINION, INC., et al.,

              Plaintiffs,

       v.                                    Civil Action No. 1:21-cv-00213 (CJN)

RUDOLPH W. GIULIANI,

              Defendant.



US DOMINION, INC., et al.,

Plaintiffs/Counter-Defendants,

       v.                                    Civil Action No. 1:21-cv-00445 (CJN)

MY PILLOW, INC., et al.,
Defendants/ Counter- and
Third-Party Plaintiffs,

      v.

SMARTMATIC USA CORP., et al.,

Third-Party Defendants.


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                            AMENDED SCHEDULING ORDER

       Upon review of the Parties’ Stipulated Motion to Amend Scheduling Order, the Court

enters the following schedule to govern discovery:

   1. Deadline to Serve Document Requests under Fed. R. Civ. P. 34: September 5, 2023

   2. Deadline for Completion of Fact Discovery: January 22, 2024

   3. Deadline for Proponents to Designate Expert Witnesses and Produce Expert

       Reports under Fed. R. Civ. P. 26(a)(2): February 12, 2024

   4. Deadline for Opponents to Designate Expert Witnesses and Produce Expert

       Reports under Fed. R. Civ. P. 26(a)(2): March 11, 2024

   5. Deadline for Proponents to Produce Responsive Expert Reports: April 8, 2024

   6. Deadline for Expert Depositions: May 17, 2024

   7. Status Conference: In-person Status Conference at 11:00 AM on June 5, 2024

   8. Deadline to File Dispositive Motions: July 1, 2024

   9. Deadline to File Oppositions to Dispositive Motions: July 29, 2024

   10. Deadline to File Replies in Support of Dispositive Motions: August 16, 2024


It is so ORDERED.

DATE: May 15, 2023



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                                                           CARL J. NICHOLS

                                                           United States District Judge




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